Case 1:19-cr-10080-NMG Document 972-9 Filed 03/25/20 Page 1 of 3




                 EXHIBIT I
          Case 1:19-cr-10080-NMG Document 972-9 Filed 03/25/20 Page 2 of 3




                                                    U.S. Department of Justice

                                                    Andrew E. Lelling
                                                    United States Attorney
                                                    District of Massachusetts
Main Reception: (617) 748-3100                      John Joseph Moakley United States Courthouse
                                                    1 Courthouse Way
                                                    Suite 9200
                                                    Boston, Massachusetts 02210




                                                    February 26, 2020


VIA E-MAIL
Counsel of Record

          Re:       College Admissions Cases

Dear Counsel:

       Enclosed at Bates numbers SINGER-PHONE-000495-000803 please find copies of the
“Notes” from William “Rick” Singer’s iPhone. These copies include numerous duplicates,
because they were extracted from the phone over multiple dates during Singer’s proactive
cooperation, but we are producing them to you in their entirety. 1

        During the investigation, members of the prosecution team learned that Singer had taken
notes on his iPhone about his interactions with the government. Specifically, on or about October
28, 2018, members of the team saw all or part of the first four paragraphs under the entry for
October 2, 2018, and the entry on October 6, 2018 (SINGER-PHONE-000536). At that time, the
government believed the notes were privileged and did not review them further. In August 2019,
the government initiated a privilege review process. This week, Singer’s counsel agreed to waive
privilege over the notes, and so we are now producing them.

      We intend to disclose the remaining iPhone content shortly, once the privilege review is
complete.




          1
        The extractions occurred on or about October 5, 2018, October 23, 2018, November 1,
2018, November 29, 2018, January 3, 2019, February 15, 2019, February 28, 2019, and March
11, 2019.
      Case 1:19-cr-10080-NMG Document 972-9 Filed 03/25/20 Page 3 of 3




                                      Sincerely,

                                      ANDREW E. LELLING
                                      United States Attorney

                                By:    /s Eric S. Rosen
                                      Eric S. Rosen
                                      Justin D. O’Connell
                                      Kirsten A. Kearney
                                      Leslie A. Wright
                                      Assistant U.S. Attorneys

cc:   The Hon. M. Page Kelley
      U.S. Magistrate Judge




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